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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:13CR3025
      vs.
                                                   MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA, NOE
LOERA,
                    Defendants.


      Defendant Jesus Samaniego-Garcia has retained new counsel and now moves to
continue the pretrial motion deadline, (filing no. 48), because the new attorney needs
additional time to review this case and confer with the defendant before deciding if
pretrial motions should be filed. The government has filed an unopposed motion for
additional time to respond to motions filed by co-defendant, Noe Loera. (Filing No. 54).
Based on the showing set forth in the parties’ motions, the court finds the motions should
be granted. Accordingly,

      IT IS ORDERED:

      1)     The motion of attorney Jason M. Finch to withdraw as counsel of record for
             defendant Jesus Samaniego-Garcia, (filing no. 50), is granted. The clerk
             shall delete Mr. Finch from any future ECF notifications herein.

      2)     Defendant Samaniego-Garcia’s motion to continue, (filing no. 48), is
             granted. Defendant Samaniego-Garcia’s pretrial motions and briefs shall
             be filed on or before May 30, 2013.

      3)     The government’s motion to continue its deadline for responding to
             defendant Noe Loera’s pretrial motions, (Filing No. 54), is granted. The
             government’s response to Loera’s motions, (Filing Nos. 43 and 44), shall
             be filed on or before May 14, 2013.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and May 30, 2013, shall be
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          deemed excludable time in any computation of time under the requirements
          of the Speedy Trial Act, because despite counsel’s due diligence, additional
          time is needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7).

    May 9, 2013.
                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge




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